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Exhibit “A”
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GENERAL RELEASE AND WAIVER OF CLAIMS AGREEMENT

       

This General Release and Waiver of Claims Agreement (“Agreement”) is entered into between, Plaintiff,
PLAINTIFF (“PLAINTIFI™). and Defendamts, It's Not the Same USA. LLC d/b/a Desigual and Isabel Aparicio
((DEFENDANTS™). This Agreement shall at all times include and protect the DEFENDANTS (and all of the
DEFENDANT's related domestic and foreign business entities, affiliated entities. corporations. partnerships.
limited liability companies, clients, insurers. and subsidiaries) as well as all current and former directors. officers.
owners, shareholders. partners, principals. members. board members, employees, clients, assigns and successors in
interest. representatives, agents, attorneys. and insurers or reinsurers of the DEFENDANTS and any persons or
entities referred to above. both in their representative and individual capacities. All references to the
DEFENDANTS expressly include all of the aforementioned individuals. Defendants, and business entities.
including any successor corporations or business entities,

Section I - General Recitals & Representations

1.1 PLAINTIFF has filed a lawsuit azainst the DEFENDANTS alleging claims for alleged violations of

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the Fair Labor Standards Act, 29 U.S.C. §§ 201 er Seq. (“FLSA”). See Yanichel Castillo Morales v. It's Not the
Same USA, LLC d/ba Desigual and Isabel Aparicio, Case No. 15-22206-CIV-MARTINEZ/GOODMAN.

1.2 The DEFENDANTS deny any and all allegations of wrongdoing, liability or fault. To compromise.
settle and resolve their differences without admitting the validity of or any liability for the claims asserted by
PLAINTIFF against the DEFENDANTS. the parties have elected to voluntarily enter into this Agreement.
PLAINTIFF agrees that neither this Agreement nor the furnishing of any consideration under this Agreement shall
be construed or interpreted as an admission of any wrongdoing. unlawful conduct, fault or liability by the
DEFENDANTS.

13 Iris the desire of all parties to fully and finally settle and resolve any and all actual and potential
claims and disputes that PLAINTIFF may have against the DEFENDANTS and/or the other released persons or
entities (as defined herein). Accordingly, without admiting liability, the parties have reached this agreement and
compromise after considering the expense and uncertainty of future proceedings, arbitration, litigation, trials, and
appeals, and with the desire of resolving all of PLAINTIFE’s pending or potential disputes. administrative matters,
and litigation in their entirety. including the above-referenced allegations.

14 In consideration of these General Recitals & Representations (which are incorporated hercin) and
the terms, conditions. promises. covenants, releases and waivers contained in this Agreement, the parties, intending
to be legally bound, agrce as follows:

Section Hl - Release & Payment

al Full and General Waiver of All Claims. PLAINTIFF knowingly and voluntarily does hereby
fully and generally release and waive any and all claims and actions against the DEFENDANTS, including but not
limited to, claims arising out of PLAINTIFF’s employment or relationship with the DEFENDANTS (including his
separation from the DEFENDANTS) that he may now have against the DEFENDANTS regardiess of whether the
claims are known or unknown, accrued or unaccrued. or discovered or not yet discovered. This full and general
release and waiver includes, but is not limited to, all events, actions, and inactions of the DEFENDANTS or any of
the DEFENDANTS* employces. PLAINTIFF expressly acknowledges and agrees that this release and waiver
includes, but is not limited to, claims or lawsuits arising under 42 U.S.C. § 1981. Title VII of the Civil Rights Act of
1964 (as amended). the Florida Civil Rights Act of 1992. the federal Age Discrimination in Employmem Act
(“ADEA”), the Older Workers Benefits Protection Act of 1990 (“OWBPA”), the Equal Pay Act. the Pregnancy

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Discrimination Act (“PDA”). the National Labor Relations Act. the Americans with Disabilities Act (“ADA”). the
Family and Medical Leave Act of 1993 (“FMLA”), the Florida Whistle-Blower Act. the Sarbanes-Oxley Act of
1992. the federal Employee Retirement Income Security Act of 1974 (“ERISA”). the Immignation and Nationality
Act, the Occupational Safety and Health Act (“OSHA”), the Consolidated Omnibus Budget Reconciliation Act of
1985 (“COBRA”). the Worker Adjustment and Retraining Notification Act. the federal Fair Credit Reporting Act.
the Fair Labor Standards Act (“FLSA™)(as amended). The Florida Minimum Wage Act (§448.110 and §24. Article
X of the Florida Constitution). Section 440.205, Florida Statutes, and any other federal or state statute or local
ordinance. PLAINTIFF also expressly acknowledges and agrees that this release and waiver includes. but is not
limited to, any statutory, or common law causes pf action including. without limitation, claims for unpaid wages
(including minimum and overtime wages). claims for discrimination based on age, race. sex, national origin,
disability. religion. veteran status, family status, marital status, or sexual orientation, claims for sexual harassment.
retaliation, breach of contract (express or implied), unjust enrichment, breach of a covenant of good faith and fair
dealing. inadequate notice, fraud. unpaid wages or commissions or bonuses. negligence. gross negligence. negligent
hiring, training. retention and supervision, intentional infliction of emotional distress. wrongful or unlawful
discharge, defamation. assault. battery. or personal injury. This Agreement bars any claim or demand for loss or
damages of any kind, including costs. attorneys’ fees or other expenses. The listing of claims above is intended to
be illustrative rather than exhaustive.

2.2 DEFENDANTS knowingly and voluntarily do hereby fully and generally release and waive any
and all claims and actions against the PLAINTIFF, including but not limited to, claims arising out of PLAINTIFF's
employment or relationship with the DEFENDANT (including his separation from the DEFENDANTS) that it may
now have against the PLAINTIFF regardless of whether the claims are known or unknown, accrued or unaccrued,
or discovered or not yet discovered except as provided in paragraphs 2.3, 5.2. and 5.9-5.16 and except to enforce the
provisions of this Agreement.

23 Court approval). PLAINTIFF aerces to submit this settlement to the Court for approval in order to
have the case dismissed with prejudice.

2.4 Covenant Not to Suc. PLAINTIFF agrees that he will not sue the DEFENDANTS conceming any
claim that he might now have against the DEFENDANTS including, but not limited to, any claims relating to
PLAINTIFF’s employment or relationship with the DEFENDANTS or the tennination of that employment or
relationship.

2.5 Complete Bar to Recovery. PLAINTIFF agrees that with respect to the claims that he is waiving
herein, he is waiving not only his right to recover money or other relief in any action that he might institute, but also
that he is waiving any right to recover money or other relief in any action that might be brought on his behalf by any
other person, entity, or agency. including but not limited to the United States Equal Opportunity Commission or any
other federal. state or local government agency or department. However. this waiver does not affect the EEOC's
rights and responsibilities to enforce the civil rights statute.

2.6 Consideration. In exchange for; (1) PLAINTIFF's release and waiver of any and all claims
(including those for attorneys” fees and costs) against the DEFENDANTS, and (2) all other promises PLAINTIFF
has made herein (including, but not limited to. those relating to confidentiality), payment on behalf of the
DEFENDANTS to PLAINTIFF (or on PLAINTIFF*s behalf) in the total collective gross settlement value of
TWENTY-SEVEN THOUSAND DOLLARS ($27,000) will be made, This total settlement sum will be broken
down and paid as follows: (1) one check for $8,088.10 will be paid to PLAINTIFF (minus applicable employment
taxes): (2) one check for $8,088.10 will be paid to PLAINTIFF (with no tax deductions being made); (3) and one
check for $10,823.80. will be made payable to Diane Perez, P.A. This third check will be in settlement of any
claims for attorneys’ fees and casts attributable to PLAINTIFF’s allegations in this matter, including those incurred
by the law firm of Diane Perez. P.A. and any other attorney who may have represented PLAINTIFT. These three
checks will be forwarded to PLAINTIFF’s attomes within twenty (20) days of the Court’s approval of this

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settlement and dismissal of the lawsuit with prejudice. If approved by the Court. the settlement checks will be
mailed to Plaintiffs counsel's business address. For these settkement sums, a W-2 and a 1099 will be issued by the
DEFENDANT DESIGUAL as appropriate.

27 Consideration is Adequate, Ample and All Inclusive: PLAINTIFF agrees and acknowledges
that the sums paid to him (or on his behalf) under this Agreement constitutes adequate and ample consideration for
this Agreement and for his obligations hereunder. PLAINTIFF understands and agrees that the sums paid to him
under this Agreement ts a benefit that PLAINTIFF is not already entitled to receive and which he would not receive
but for his execution of this Agreement. PLAINTIFF acknowledges that the benefit (consideration) afforded to him
wader this Agreement includes all costs and attorneys” feex and is all that he is entitled to receive from the
DEFENDANTS as settlement of any and all claims of any kind that he has or may have against the DEFENDANTS,
including any claims which PLAINTIFF has raised or alleged in this maiter (er could have raised). PLAINTIFF
specifically agrees that the benefit afforded to him under this Agreement constitutes adequate and ample
consideration for the rights and claims that he is releasing and waiving under this Agreement. and for the other
obligations imposed upon her by this Agreement.

Section II - Confidentiality & No Disparagement

3.1 Confidentiality. Despite the fact that this Agreement will be made part of the Court record,
PLAINTIFF agrees and understands that the circumstances surrounding this lawsuit. his employment with the
DEFENDANTS, and this Agreement are strictly and absolutely confidential. Notwithstanding any notations or
filings in the judicial record, PLAINTIFF promises that he will not disclose the fact of or terms of this Agreement to
anyone, unless ordered to do so by a court of competent jurisdiction. As is the case with all other provisions of this
Agreement, Confidentiality is a material condition of this Agreement. PLAINTIFF agrees not to disclose or discuss
this Agreement, the circumstances related thereto, or any information regarding the existence or substance of this
Agreement to anyone except to an attorney and accountant with whom he chooses to consult regarding the
execution of this Agreement. PLAINTIFF also agrees not to discuss his prior employment or relationship with the
DEFENDANTS or any matters related to the DEFENDANTS. PLAINTIFF acknowledges that in response to any
inquiries to him regarding the claims. his response will be limited solcly to the following: “The matter has been
resolved and I choose not to discuss it any further.”

32 No Encouragement of Claims or Litigation. PLAINTIFF will not encourage, counsel or advise
any person to file or bring any type of claim against the DEFENDANTS.

33 Employment Verification. Should a verification of Plaintiff's former employment be requested.
PLAINTIFF shall direct any such request to Defendant Desigual’s Human Resources Department. Maria Sanchez-
Hidalgo HR Business Partner Manager in North America, 958 Avenue Of Americas, 4th Fl 1000] New York City.
NY, Telephone number 917-902-7635, which will provide Plaintiff's dates of employment and former job title of
Store Manager.

Section IV — General Provisions

4.1 Encouragement to Consult Attorney / Time to Consider Agreement. PLAINTIFF
acknowledges that he was encouraged to consult an attomey before signing this Agreement. PLAINTIFF
acknowledges that he has consulted an attorney before signing this Agreement, PLAINTIFF also acknowledges
that he was given a reasonable period of time within which to review and consider this Agreement before signing it,
and that he understands cach term of the Agreement and his obligations hereunder.

4.2 Breach of Agreement. PLAINTIFF agrees that if he were to breach any of the promises set forth
in this Agreement. including the confidentiality provisions in Section II). if permitted by law. the DEFENDANTS
PLAINTIFF DEFFNDANTS

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shall have the right (among all other remedies available at law or equity) to seek recovery of liquidated damages in
the amount of $16,176.20. In addition. should PLAINTIFF institute a lawsuit or cause a lawsuit to be instituted
against the DEFENDANTS based upon any claims that he has released and waived in this Agreement. PLAINTIFF
shall pay all costs and attorneys’ fees incurred by the DEFENDANTS in defending against any such claim.
PLAINTIFF further agrees that even if he violates the terms of this Agreement. the Agreement shall remain in full
force and effect, including PLAIN TIFF's release of all claims..

43 Files and Neutral References. PLAINTIFF agrees that the DEFENDANTS is not under any
obligation to provide any files or records to any other person or entity related to services provided by PLAINTIFF
to the DEFENDANTS, unless the DEFENDANTS are compelled by subpoena or ordered to do so by a court,
PLAINTIFF agrees that the DEFENDANTS are under no obligation lo provide any type of persona! or professional
reference to any person or entity except as provided in 3.3.

44 Return of Documents and Property. Along with the executed copy of this Agreement.
PLAINTIFF agrees to return to the DEFENDANTS any and all property or documents belonging to the
DEFENDANTS. including any confidential documents produced to PLAINTIFF during the course of this litigation
(if any).

45 Tax Implications of Settlement. PLAINTIFF agrees and acknowledges that he bears the sole
responsibility for paying any and all applicable federal. state or local taxes (if any are owing) under this Agreement.

46 Effective Date. This Agreement becomes effective and enforceable against PLAINTIFF upon his
execution of the Agreement.

4.7 Amendment. This Agreement may not be amended except by written agreement signed by the
DEFENDANTS and PLAINTIFF.

4.8 Headings. The headings and other captions in this Agreement are for convenience and reference
only and shall not be used in interpreting. construing or enforcing any of the provisions of this Agreement or to
define or limit the scope of any paragraph of this Agreement.

49 Governing Law, Severability, Interpretation and Construction. This Agreement shall be
govemed and construed in accordance with the laws of the State of Florida. The paragraphs and provisions of this
Agreement are severable; if any paragraph or provision is found to be unenforceable, the remaining paragraphs and
provisions will remain in full effect. If any provision of this Agreement is declared illegal or unenforceable by a
court of competent jurisdiction, and if it cannot be modified to be enforceable, such provision shall immediately
become null and void. leaving the remainder of this Agreement in full force and effect. The parties hereto
acknowledge that this Agreement is a collaborative effon by the attorneys for the parties and that, as such, no
provision of this Agreement shall be more strictly construed against one party as the drafisperson thercof.

4.10 No Use of Document as Evidence. This Agreement may only be used as evidence in a lawsuit
alleging a breach of this Agreement or as a defense to any lawsuit brought by any party. Other than this exception,
the parties agree that this Agreement will not be introduced as evidence in any proceeding or in any lawsuit.

Section V - Representations & Warranties

5.1 Capacity of the Parties. PLAINTIFF represents and warrants to the DEFENDANTS that he has
ihe full pdwer, capacity, and authority to enter into this Agreement, PLAINTIFF also represents and warrants that
no portion of any claim. right. demand. action. or cause of action that PLAINTIFF has or might have had arising out
of the acts. events. transactions, and occurrences referred to herein have been assigned. transferred. or conveyed to
any person not a party to this Agreement, by way of subrogation. operation of law, or otherwise. and that no

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releases or settlement agreements are necessary or need to be obtained from any other person or entity to release
and discharge completely any of PLAINTIFF ’s claims released in this Agreement.

5.2 Indemnification. PLAINTIFF hereby agrees to indemnifi. defend. and hold harmless the
DEFENDANTS against any claim. loss. damage or expense brought or occasioned by or in connection with any
claim for attorneys’ fees, attorneys’ charging liens, Social Security liens, subrogated claims of liens of any kind, or
any other type of claim or lien or interest. or any other claim or lien or interest of collateral sources of third-party
payers that are claimed by any entity or third-party payer to be related to the instant action. PLAINTIFE further
agrees that in event any such claim, lien or subrogated interest is claimed against the DEFENDANTS, PLAINTIFF
shall indemnify and defend the DEFENDANTS from any such payment or settlement or judgment which is or may
be required or result from such claims. including costs, expenses and altorneys’ fees attendant to the defense of such
claims.

53 Entire Agreement. With the exception of any arbitration agreements. prior waivers, and/or any
restrictive covenant agreements in place between PLAINTIFF and the DEFENDANTS (including, but not limited
to those regarding confidential information, non-disclosure, non-solicitation, or non-competition), this Aureement
sets forth the entire agreement between PLAINTIFF and the DEFENDANTS and shall supersede any and all prior
agreements. representations, or understandings. whether written or oral, between the Parties, except as otherwise
specified in this Agreement. Any prior arbitration agreements. waivers and restrictive covenants remain in full
force and effect. PLAINTIFF acknowledges that he has not relied on any representations, promises, or agreements
of any kind that may have been made to him in connection with his decision to sign this Agreement, except for
those expressly set forth in this Agreement.

54 Binding on Plaintiff. PLAINTIFF represents and warrants that he understands that if the facts
upon which this Agreement is based are found hereafter to be different from the facts now believed to be true. this
Agreement will remain binding and effective and the parties expressly accept and assume the risk of such possible
differences and agree that this Agreement shall remain binding and effective, notwithstanding such potential
differences.

55 Full and Final Release. PLAINTIFF represents and warrants to the DEFENDANTS that he
understands and agrees that this Agreement shall act as a full and final release of all claims of every nature and kind
whatsoever that have arisen, or that could have arisen between him and the DEFENDANTS, whether such claims
are currently known or unknown. and whether they were foreseeable or unforeseeable.

5.6 Recitals Incorporated. All of the recitals and representations described above or referred to in this
Agreement are herein incorporated by reference and specifically made a part of this Agreement, and the same arc
acknowledged as having been relied upon by the parties.

MMSEA COMPLIANCE

 

Se For purposes of the Medicare, Medicaid and SCHIP Extension Act of 2007(MMSEA), the

following definitions apply:
DEFINITIONS
a. “CMS” means the Centers for Medicare & Medicaid Services within the U.S. Department of Health
and Hurhan Services, including any agents, representatives, or contractors of CMS. such as the Coordination of
Benefits Contractor (“*COBC™) or Medicare Secondary Payer Recovery Contractor (“MSPRC”).

b. “Conditional Payments” shall have the meaning ascribed to it under the MSP Statute and
implementing regulations.

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ci “Medicare Benefician~ or “Medicare Plaintiff” means any Plaintiff for whom Medicare has made
Conditional Payments for the treatment of injuries arising out of or related to the Released Matters.

d, “MMSEA™ means the Medicare. Medicaid. and SCHIP Extension Act of 2007 (P.L. 110-173),
which, in purt, amended the Medicare Sccondary Payer statute at 42 U.S.C. § 1395)(b)7) and (8). This portion
of MMSEA is referred to herein as “Section 11 1 of MMSEA”,

C “MSP Statute” means the Medicare Secondary Payer (“MSP”) statute. 42 U.S.C. § 13955(b).

f. “Released Matier™ means any released accident, occurrence. injury. illness. disease. loss. claim.
demand, or damages that are subject to the Agreement and releases herein.

a. “Releasces™ means Defendants: its past, present and future officers. directors. employees. parent
companies. subsidiaries. divisions, affiliates. insurers, and attorneys; and its respective predecessors, successors,
and assigns.

5.8 Plaintiff represents and warrants that the information that appears in the Exhibit to this
Agreement. including his name, gender. date of birth, and Social Security Number or Medicare Health
Insurance Claim Number, and which is incorporated by reference as a part of this Agreement, is complete,
accurate, and current as of the date of this Agreement.

5.9 Plaintiff represents and warrants that no Medicaid payments have been made to or on behalf of him
and that no liens, claims. demands, subrogated interests, or causes of action of any nature or character exist or have
been asserted arising from or related to any Released Matters. Plaintiff further agrees that he, and not Releasces,
shall be responsible for satisfying all such liens, claims, demands, subrogated interests, or causes of action that may
exist or have been asserted or that may in the future exist or be asserted.

5.10 To the extent that Plaintiff's representations and warranties related to his Medicare status and
receipt of medical services and items related to the Released Matters are inaccurate, not current. or inisleading,
Plaintiff agrees to indemnify and hold harmless Releasces from any and all claims, demands, liens, subrogated
interests, and causes of action of any nature or character that have been or may in the future be asserted by Medicare
and/or persons or entities acting on behalf of Medicare, arising from or related to this Release, the payment of the
Settlement Amount, any Conditional Payments made by Medicare, or any medical expenses or payments arising
from or related to any Released Matters, including but not limited to: (a) all claims and demands for reimbursement
of Conditional Payments or for damages or double damages based upon any failure to reimburse Medicare for
Conditional Payments; (b) all claims and demands for penalties based upon any failure to report. late reporting, or
other noncompliance with or violation of Section 111 of MMSEA that is based in whole or in part upon late,
inaccurate, or inadequate information provided to Releasees by Plaintiff or Plaintiffs Counsel or upon any failure
of Plaintiff or Plaintiff's Counsel to provide information; and (c) all Medicaid liens. This indemnification
obligation includes all damages, double damages, fines. penalties, attorneys’ fees. costs, interest, expenses, and
judgments incurred by or on behalf of Releasees in connection with such claims, demands, subrogated interests, or
causes of action. Regardless of the accuracy of the representations and warranties made above, Plaintiff agrees to
indemnify and hold Rcleasees harmless for taxes on the payments made to Plaintiff under this Agreement and any
lax consequences related thereto, except those prohibited by law.

5.11 It is understood and agreed that: Releasees have relied expressly upon the promises,
representations, and warranties made by Plaintiff and Plaintiff's Counsel in this Agreement and the Exhibit to this
Agreement: that any breach of such promises. representations, and warranties would constitute a material breach of
this Release: and that in the event of any such breach, Releasees shall be entitled to any and all of the following
relicf: (a) the immediate repayment to Releasees of the full Settlement Amount hereunder: {b) the indemnification
and hold harmless protection set forth in Paragraph 10 above: (c) specific enforcement of all promises and

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undertakings made by Plaimiff and Plaintift’s Counsel hereunder: and (4) all other relief and damages available at
law or in equity.

3.12 Included in this release is Plaintil?’s release of any claim or cause of action that
Plaintiff may have against Releasces under the MSP Statute. including any private cause of action under 42 U.S.C.
§ 1395y(bX3KA).

5.13 Plaintiff agrees to provide any and all additional information requested by Releasees as may

be needed to determine or confirm Plaintiff's Medicare eligibility and enrollment status with CMS and to meet
Releasees’ reporting and reimbursement obligations (if any. including those that may arise after execution of this
Agreement) under MMSEA Section [1 1, the MSP Statute and regulations, and CMS guidance. or to respond to any
claim or demand asserting reporting violations. penalties. or reimbursement liabilities thereunder. within 10 days of
such a request by Releasees. Such information may include. but is not limited to: information regarding ans
Released Matter: correspondence with CMS. the COBC, and/or the MSPRC related to the coordination of benefits
(COB) for the medical services or items received by Plaintiff and related to the releases herein, including COB
questionnaires and responses thereto. Rights and Responsibilities Brochures. Rights and Responsibilities Letters,
Conditional Payment Letters. Conditional Payment Notices. Payment Summary Forms, Demand/Recovery Letters,
Final Settlement Detail Documents, Relatedness Letters, Notices of Medicare Involvement, Intent to Refer Letiers.
and any related correspondence: and any other information regarding such medical services or items paid by
Medicare, including ICD-9-CM codes.

5.14 This Agreement shall in all respects be interpreied, enforced, and governed under federal
law to the extent federal law preempts state law.

5.15 Notwithstanding any other provision of this Agreement or any prior confidentiality

agreement between or among any of the Parties: (a) Releasces may disclose information relating to this Agreement,
and any information provided by Plaintiff or Plaintiffs Counsel, to Releasees’ accountants. auditors, insurers and
reinsurers and to government agencies as required by law: and (b) more specifically, Releasees may disclose such
information for purposes of complying with any reporting and/or reimbursement obligations under the MSP Statute
and MMSEA, or responding to any claim, demand, or audit asserting any reporting violations, penalties. or
reimbursement liabilities thereunder, including but not limited to the disclosure of such information to the
Department of Health and Human Services and/or CMS and any agents, representatives, or contractors of Releasces
for such purposes. To the extent the permission of any court or government agency or a modification of any
confidentiality order or protective order is needed to implement the purposes of this provision, each Party agrees to
cooperate in seeking such permission or modification.

5.16 Plaintiff has relied upon the advice of his Counsel with respect to all aspects of this
Agrecment. including but not limited to the terms of and obligations arising under MMSEA. the MSP Statute. and
CMS regulations and guidance with respect to the reimbursement of Medicare for Conditional Payments, It is
understood and agreed that no mistake of law or mistake of fact, including but not limited to any mistake with
respect to any obligation to reimburse Medicare for Conditional Payments or any mistake with respect to the
amount of such obligation, shall constitute a basis for rescission or reformation or render any portion of this
Agreement void or voidable,

HAVING ELECTED TO EXECUTE THIS AGREEMENT AND TO FULFILL THE PROMISES SET
FORTH HEREIN, PLAINTIFF FREELY AND KNOWINGLY. AND AFTER DUE REFLECTION,
ENTERS INTO THIS AGREEMENT INTENDING TO WAIVE, SETTLE, AND RELEASE THE
DEFENDANTS OF ANY AND ALL CLAIMS HE NOW HAS, HAD, OR MAY HAVE AGAINST THE
DEFENDANTS. IN WITNESS WHEREOF, PLAINTIFF AND THE DEFENDANTS HAVE EXECUTED
THIS AGREEMENT. PLAINTIFF KNOWINGLY AND VOLUNTARILY EXECUTES THIS WAIVER

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ON HIS OWN BEHALF AND ALSO ON BEHALF OF HIS HEIRS, AGENTS, REPRESENTATIVES,
SUCCESSORS AND ASSIGNS THAT HE MIGHT HAVE NOW OR IN THE FUTURE. PLAINTIFF
SPECIFICALLY ACKNOWLEDGES THAT HE HAS READ THIS AGREEMENT AND THAT HE
UNDERSTANDS THE TERMS AND CONDITIONS OF THIS AGREEMENT.

 

PLAINTIFF

 
 
 

(“DEFENDANTS")

By: By: MAQ\A SANGHE? - KADALQD Ma

Dated: K\c/ De HOS

Dated: VpJ 24th Zac

 

 

 

 

 

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